           Case 20-11291-mdc                    Doc    Filed 09/29/20 Entered 09/29/20 15:28:25                            Desc Main
                                                       Document      Page 1 of 6
Fill in this information to identify the case

Debtor 1 Marcus A Little

Debtor 2 Marcus A. Little
(Spouse, if filing)

United States Bankruptcy Court for the: EASTERN District of PA
                                                                               (State)
Case number 20-11291


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                              Ajax Mortgage Loan Trust 2019-E, Mortgage-
                              Backed Securities, Series 2019-E, by U.S. Bank
Name of creditor              National Association, as Indenture Trustee                 Court claim no. (if known)            11
                                                                                         Date of payment change
Last four digits of any number                                                           Must be at least 21 days after date of       11/25/2020
you use to identify the debtor's                                                         this notice
account:                               7-584
                                                                                         New total payment:
                                                                                         Principal, interest, and escrow, if any      $366.58
Part 1:           Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $                               New escrow payment:             $

Part 2:           Mortgage Payment Adjustment

 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:     3.49%       New interest rate:   3.49%

           Current principal and interest payment: $364.14       New principal and interest payment: $366.58

Part 3:           Other Payment Change




20-010440_JDD1
         Case 20-11291-mdc             Doc       Filed 09/29/20 Entered 09/29/20 15:28:25                   Desc Main
                                                 Document      Page 2 of 6
 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect)

         Reason for change:

         Current mortgage payment: $                                   New mortgage payment: $




20-010440_JDD1
             Case 20-11291-mdc                     Doc       Filed 09/29/20 Entered 09/29/20 15:28:25              Desc Main
                                                             Document      Page 3 of 6

Debtor 1          Marcus A Little                                           Case number (if known) 20-11291
            First Name                      Middle Name        Last Name



Part 4:              Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

       /s/ Sarah E. Barngrover                                                           09/29/2020
  X                                                                              Date
      Signature

  Print:
                         Sarah E. Barngrover                                     Title    Attorneys for Creditor

  Company                 Manley Deas Kochalski LLC

  Address                 P.O. Box 165028
                         Number             Street

                          Columbus, OH 43216-5028
                         City                        State       ZIP Code

  Contact phone            614-220-5611                                          Email     amps@manleydeas.com




20-010440_JDD1
Case 20-11291-mdc         Doc     Filed 09/29/20 Entered 09/29/20 15:28:25            Desc Main
                                  Document      Page 4 of 6



                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                              :
                                    : Case No.: 20-11291
Marcus A Little                     : Chapter 13
Shanyel Little AKA Gibson-Little    : Judge Magdeline D. Coleman
Shanyel Little                      : *******************
                                    :
Debtor(s)
                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Payment Change

was served on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   William C. Miller, Esq., Chapter 13 Trustee, Chapter 13 Trustee, P.O. Box 1229,
   Philadelphia, PA 19105, ecfemails@ph13trustee.com

   Brad J. Sadek, Attorney for Marcus A Little and Shanyel Little, Sadek and Cooper, 1315
   Walnut Street, Suite 502, Philadelphia, PA 19107, brad@sadeklaw.com
                                                                                           29
The below listed parties were served via regular U.S. Mail, postage prepaid, on September ___,
2020:

   Marcus A Little and Shanyel Little AKA Gibson-Little, 3128 N. Spangler Street,
   Philadelphia, PA 19132

   Marcus A. Little and Shanyel Little, 604 Wellfleet Drive, Middletown, DE 19709

   Marcus A Little and Shanyel Little AKA Gibson-Little, 3128 N. Spangler Street,
   Philadelphia, PA 19132

   Marcus A. Little and Shanyel Little, 604 Wellfleet Drive, New Castle, DE 19709

   Marcus A Little, Marcus A. Little, Shanyel Little AKA Gibson-Little and Shanyel Little, 3059
   N Bambrey St., Philadelphia, PA 19132-1302



      09/29/2020
DATE: _________________
                                                      /s/ Sarah E. Barngrover
                                                     Karina Velter, Esquire (94781)




20-010440_JDD1
Case 20-11291-mdc   Doc   Filed 09/29/20 Entered 09/29/20 15:28:25      Desc Main
                          Document      Page 5 of 6



                                         Adam B. Hall (323867)
                                         Sarah E. Barngrover (323972)
                                         Manley Deas Kochalski LLC
                                         P.O. Box 165028
                                         Columbus, OH 43216-5028
                                         Telephone: 614-220-5611
                                         Fax: 614-627-8181
                                         Attorneys for Creditor
                                         The case attorney for this file is Karina
                                         Velter.
                                         Contact email is kvelter@manleydeas.com




20-010440_JDD1
Case 20-11291-mdc   Doc   Filed 09/29/20 Entered 09/29/20 15:28:25   Desc Main
                          Document      Page 6 of 6
